Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 1 of 13




           Background: January 6, 2021 at the U.S. Capitol
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 2 of 13




                  Facts Specific to this Application
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 3 of 13
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 4 of 13
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 5 of 13
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 6 of 13
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 7 of 13
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 8 of 13
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 9 of 13
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 10 of 13
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 11 of 13
Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 12 of 13
           Case 1:21-mj-00196-GMH Document 1-1 Filed 02/03/21 Page 13 of 13




        In Live Video 2, shot from inside the Capitol building, a male voice, which is heard in both
videos with a consistent pitch and tone, who I believe to be COSTIANES, said "Yeah" at the time
others overran the doorway at the 11 :35 mark.7

       Based on the foregoing, your affiant submits that there is probable cause to believe that
Elias COSTIANES violated 18 U.S.C. § 1512(c)(2), which makes it a crime to corruptly obstruct,
influence, or impede an official proceeding, and to attempt to do so. A proceeding before Congress
is an "official proceeding" for purposes of 18 U.S.C. § 1512(c)(2) as defined in 18 U.S.C.
§ 1515(a)(l)(B).

        Your affiant submits there is also probable cause to believe that Elias COSTIANES
violated 18 U.S.C. § 1752(a)(l) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do; and (2) knowingly, and with
intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a "restricted building" includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Elias COSTIANES
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) engage in disorderly and disruptive conduct in any of the Capitol Buildings with the intent to
impede, disrupt, and disturb the orderly conduct of a session of Congress and either House of
Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.
                                                                        I
                                                               KENNETH R. SHAPPEE
                                                               FEDERAL BUREAU OF INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 3rd day of February 2021.                                 Digitally signed by G.
                                                                                         Michael Harvey
                                                                                         Date: 2021.02.03
                                                                                         12:31:28 -05'00'
                                                               G. MICHAEL HARVEY
                                                               UNITED STATES MAGISTRATE ruDGE


7
    The audio is consistent with the same utterance of"Yeah" at the 3:08 minute mark of Live Video 1.


                                                          13
